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                                  IN THE UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF VIRGINIA
                                           ABINGDON DIVISION

                              CRIMINAL MINUTES - GUILTY PLEA HEARING

 Case No.: 1:18CR25-015                    Date: 03/06/2019

 Defendant: Terry Melvin Dalton, Custody                         Counsel: Robert Hagan, Jr., Appointed

 PRESENT:       JUDGE:                     James P. Jones       TIME IN COURT: 11:39 – 12:03p.m.
                Deputy Clerk:              Allison Rust             TOTAL: 24 minutes
                Court Reporter:            Donna Prather, OCR
                U. S. Attorney:            Cagle Juhan
                USPO:                      Sumer Taylor-Sargent
                Case Agent:                None
                Interpreter:               N/A

 PROCEEDINGS:

        Defendant proceeded to plead guilty without the benefit of a written Plea Agreement.
        Defendant re-arraigned as to Counts 1, 7 and 8 of the Indictment.
        Defendant placed under oath. Court questions defendant regarding his physical and mental condition, and advises
        defendant of his rights, and the nature and possible consequences of plea.
        Court accepts plea of guilty.
        Government summarizes evidence to support plea and rests.
        Court finds defendant guilty as charged in Counts 1, 7 and 8 of the Indictment.

 DEFENDANT PLEADS:
 (list counts)

     DEF. #           GUILTY                NOT GUILTY             NOLO                      REMARKS
              Counts 1, 7 and 8 of
       1
              the Indictment
       2

       3

       4

        Court orders Presentence Report.
        Defendant remanded to custody.
        Sentencing hearing scheduled for June 24, 2019 at 10:30 a.m. before Judge James P. Jones.
